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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                         CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                     §
     Plaintiff/Respondent,                    §
                                              §
v.                                            §          2:12-CR-595-2
                                              §
CARLOS LUNA,                                  §
    Defendant/Movant.                         §

                      MEMORANDUM OPINION AND ORDER

       Before the Court are the government’s motion to return Carlos Luna to the custody

of the Attorney General for restoration of competency and a defense motion for risk

assessment and subsequent hearing. D.E. 107, 108. For the reasons stated below, the Court

grants in part and denies in part both motions.

                I. PROCEDURAL AND FACTUAL BACKGROUND

       Carlos Luna was charged with multiple counts of possession of a firearm by a felon,

including aiding and abetting his co-defendant Joshua Wallace. D.E. 1. He was arrested in

August 2012. D.E. 10. After a detention hearing, Luna was held pending trial. D.E. 26.

       Luna, through counsel filed a notice that he intended to enter a guilty plea. D.E. 29.

At the scheduled hearing, Luna stated his name was Carl Moon and he wanted a different

non-Hispanic attorney. D.E. 31. The Court appointed new counsel due to the conflict

between Luna and his counsel. Id. The case was reset. Id.

       New counsel filed an unopposed motion for a competency evaluation. D.E. 34. After

a hearing, the Court granted the motion and Luna was committed to the custody of the

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Attorney General. D.E. 35. After evaluation, the Bureau of Prisons informed the Court that

in the opinion of the BOP Forensic Staff in Fort Worth, Luna did not appear to be competent

to stand trial. D.E. 47.1 The BOP recommended transfer to a treatment facility to restore

Luna’s competence to stand trial. Id. The Court ordered Luna be remanded to the BOP to be

transferred to a medical facility for no more than 120 days for competency restoration. D.E.

48.

        In June 2013, the BOP advised the Court that Luna remained incompetent to stand

trial. Luna had refused medication that his doctors believed would help restore his

competency. The BOP requested judicial permission for involuntary administration of

psychotropic medications. D.E. 83. The Court held a status conference in early July 2013,

D.E. 85, after which the Court authorized the medical staff to administer psychotropic

medication to Luna, involuntarily if necessary. D.E. 88.

        In December 2013, the Court and counsel were provided with an update on Luna’s

mental status. In a report dated December 2, 2013, Luna’s evaluators agreed that he was at

that time competent to stand trial. D.E. 89. The report attached a Certificate of Restoration

of Competency to Stand Trial. Id., p. 4. The evaluators were Carlton Pyant, Ph.D. and Robert

Lucking, M.D. Id., p. 12.

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          Luna was evaluated by Dr. Randall Rattan, Ph.D., a psychologist who diagnosed Luna
with Delusional Disorder, Grandiose and Persecutory Types. Dr. Rattan’s prognosis for Luna was
guarded. He recommended transfer to a medical facility for restoration of competency. Id. a, p. 8.
Luna’s history included a stay at North Texas State Hospital for restoration of competency from
November 2005 through January 2006 in connection with a Texas assault. Luna was discharged
from that facility with a diagnosis of Delusional Disorder, Mixed Type, with Persecutory and
Grandiose Themes. Id., p. 3.

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       The Court issued a Writ of Habeas Corpus Ad Prosequendum for Luna’s appearance

for pretrial conference in Corpus Christi, Texas on January 6, 2014. D.E. 91. Luna was

returned to Texas. A status conference was held on December 19, 2013.

       On January 2, 2014, counsel for Luna again raised concerns about Luna’s

competency. The parties appeared for pretrial conference on January 6, 2014. Luna stated

that he wished to plead guilty and the Court began his rearraignment. Minute Entry Jan. 6,

2014. When Luna learned that he could be sentenced to up to 10 years in federal prison, he

declined to proceed with the plea. Id.

       A few days later, the government filed a motion for a mental health examination to

determine insanity at the time of the offense. D.E. 98. A competency hearing was held

January 16, 2014, with testimony from Luna’s evaluators, Dr. Lucking, a psychiatrist, and

Dr. Pyant, a psychologist, presented testimony and observed the proceedings by video

conference. During that hearing, Dr. Pyant testified that Luna’s competence had been

restored. According to Dr. Pyant, at the time he left Butner, North Carolina, Luna’s speech

was fluid, responsive and articulate, with no indication of delusional thoughts. January 16,

2014, ERO at 2:59:16/59:45.

       During the hearing, the Court recessed for approximately 30 minutes to provide Dr.

Pyant an opportunity to interview Luna and to hear Luna’s response to his attorney. After the

conclusion of Dr. Pyant’s interview and observations of Luna, Dr. Pyant believed, as did

Luna’s attorney, that Luna had decompensated and was no longer competent to stand trial.

Id. at 3:33:14/34:08. Dr. Pyant believed that Luna’s delusional thought processes would

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interfere with his ability to assist counsel with his defense. Id. At the conclusion of the

hearing, the Court orally found Luna to be incompetent to stand trial. Minute Entry, January

16, 2014.

       The Court called a hearing the following day, withdrew the Court’s finding of

incompetency, and requested the parties provide additional evidence regarding Luna’s

medication and information from the Karnes facility where Luna is being held to help

establish Luna’s status. Minute Entry, January 17, 2014. A hearing was scheduled for

January 27, 2014. D.E. 102.

       On January 27, 2014, the Court heard the testimony of Dr. Patricia Caballero, M.D.,

a psychiatrist employed by GEO Corporation who assesses prisoners by video conference

at several facilities operated by GEO, a correctional facilities company. January 17, 2014,

ERO at 9:25:47/9:29:57. Dr. Caballero saw Luna twice. Dr. Caballero’s first visit with Luna

was on December 18, 2013, the day after he arrived in Texas from Butner, North Carolina.

She spent 15-30 minutes with him. Id. at 9:30:59/38:09. Also present for the interview was

Evelyn Salais, LVN, who works with Dr. Caballero at the Karnes facility. Nurse Salais was

in the room with Luna when the interview took place. Id. at 9:41:25.

       According to Dr. Caballero, she did not receive records from Butner when Luna was

transferred to the Karnes facility, other than the Court’s Order requiring Luna to be

maintained on his current medication. Id. at 9:33:13. During his first visit, Dr. Caballero

found Luna to be alert, articulate, oriented and she found no evidence of delusions or

hallucinations. Id. at 9:38:09. Before her interviews with prisoners, Dr. Caballero requests

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input from Nurse Salais who collects information from staff at the prison who interact with

the prisoner.

       Dr. Caballero noted no difference in Luna’s demeanor or appearance when she spoke

with him the second time. Id. at 9:39:09/28. She believes he is still competent to stand trial.

According to the medical records Dr. Caballero reviewed, Karnes continued Luna’s

medication of 50 milligrams of Risperdol intramuscularly every two weeks and Cogentin

twice a day. Id. at 9:40:09/40:30; 9:58:33. Luna rejected his most recent dose of Risperdol

on January 23, January 24, and January 25, 2014. Id. at 9:59:24/10:08:13.

       Luna is housed in a segregation cell, but not for medical reasons. Id. at 9:47:00/48:01.

None of the witnesses could explain why Luna is housed in segregation. He is permitted out

of his cell for a daily shower and for an hour of recreation daily. Id. Officers are present in

the unit all the time. Id. at 9:47:00. Karnes has a licensed professional counselor on staff. Dr.

Caballero believes that Luna has refused counseling. Luna was supposed to see her two to

four weeks after his December 31, 2013, visit. As of January 27, Dr. Caballero had not seen

him again, but a visit may be scheduled of which she was as yet unaware. Id. at 9:53:21.

       Evelyn Salais, LVN, supervises 8 nurses and medical staff. She reviews the records

for psychiatric patients, including Luna. Id. at 9:55:22/58:05. She occasionally gives him

medication. He refused doses of Cogentin on January 11, 13, 14, 17, and 26. Id. at

9:58:58/10:03:13. Salais also makes psychiatric rounds in Luna’s unit once a week, but has

not spoken to Luna other than about his medication. Id. at 10:03:13/04:36. Nurse Salais does

not know whether Luna takes his daily shower, nor does she know whether he goes to his

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recreation period. Id. at 10:09:55. There are 10 or 12 cells in Luna’s unit. Id. at 10:09:27. The

front wall of each cell consists of bars that allow visibility into and out of the cell. Id. at

10:07:40. The side walls are solid. Id.

       Carlton Pyant, Ph.D. listened to the testimony of Dr. Caballero and Nurse Salais by

video conference. Id. at 10:15:58. He observed Luna’s lack of focus in his interactions with

the Court, his disorganized thinking and impulsivity. Id. at 10:15:03/18:10, 10:27:28/27:40.

While Luna was at Butner, Luna was placed in the least restrictive setting. He had a room

mate and was allowed to move about his unit and talk with the medical professionals at will.

Id. at 10:18:05/18:50. Dr. Pyant does not know why Luna has decompensated, but the

conditions of housing may have an effect. Id. at 10:17/10/17:20. Additionally, it may just be

that Luna’s medication is due for an adjustment. Id. at 10:31:26. The hearing on January 27,

2014, did not change his opinion that Luna is no longer competent to stand trial. Id. at

10:26:38/10:29:16. He believes that Luna may be restored to competence at Butner again and

that Butner could hold Luna until the Court was ready to try Luna. Id. at 10:15:18,

10:21:23/21:52. Pyant’s continued belief in Luna’s lack of competency was based in large

part on Luna’s disorganized thinking, including his dialogue about Clear Channel

communications. Dr. Pyant believed that Luna’s prominent delusions will likely interfere

with Luna’s communications with counsel. Id. at10:27:28/28:22. As an example, Luna stated

that he did not wish to testify at his upcoming trial. One of Luna’s statements that caused

concern was Luna’s reason for not testifying. Luna did not want the public to know secret



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and important information that Luna knew, and the public exposure of that information could

cause danger to the public. ERO Jan. 27, 2014 at 10:28:23/10:29:16.

       Near the conclusion of the hearing, Luna wished to make a statement. He spoke

virtually uninterrupted for nearly 15 minutes. ERO January 27, 2014, 10:40:05/10:54:26.

During that time, only a very small portion of his remarks had anything to do with the

charges he was facing or their potential consequences. In fact, he insisted he wanted to plead

guilty and do his time of one or two more years. He remembered backing out of an earlier

guilty plea during rearraignment, but he did not recall the potential punishment he could

receive. Luna appeared to be unaware of the seriousness of the multiple firearms charges

against him.2 Instead, Luna was more concerned about getting out of jail so he could work

to pay off thousands of dollars in traffic fines. Id. at 11:07:44/11:08:04.

                                       II. ANALYSIS

       Carlos Luna has said more than once that he should be allowed to plead guilty and

accept responsibility for his actions and end the numerous court proceedings. His counsel

argues that he is not competent to plead guilty and the government concurs. The psychologist

who treated him at Butner for more than four months had the opinion that Luna is not

competent to stand trial. ERO January 16, 2014 at 3:35; January 27, 2014 at 10:20:46.




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           On January 6, 2014, Luna attempted to plead guilty. Minute Entry Jan. 6, 2014. After
being informed of the rights he was giving up, the procedure and the punishment range of up to 10
years, fees, fines, and supervised release, Luna decided he would rather have a trial. ERO January
6, 2014, at 10:39:20.

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       Although Luna is aware that he is charged with a crime involving a firearm, and he

seems to understand the role of a judge, a jury, his attorney and the prosecutor, he does not

have a rational understanding of the consequences of his guilty plea. During the January 27,

hearing, Luna was unable to focus on the nature of his offense and its consequences, or the

capacity to assist his attorney. According to Dr. Pyant, Luna’s disorganized and delusional

thinking would prevent Luna from being able to listen to and accept counsel from his

attorney.

       No one has performed a risk assessment on Luna at this time. ERO, January 16, 2014,

at 3:37:25. According to Dr. Pyant, the options available are to attempt to restore competency

and/or to perform a risk assessment. Id. at 3:35. Dr. Pyant continues to believe that Luna’s

competency can be restored again. ERO, January 27, 2014, at 10:15:18.

       The Court requested the parties provide recommendations and brief the issues which

resulted in the present motions. The government seeks commitment of Luna to the custody

of the Attorney General to restore his competency. Luna’s counsel focuses on the time Luna

has already spent in custody and seeks a risk assessment to be performed locally and then a

hearing pursuant to § 4247(d).

       A criminal defendant is competent to stand trial when he has “sufficient present ability

to consult with his lawyer with a reasonable degree of rational understanding and has a

rational as well as factual understanding of the proceedings against him.” Godinez v. Moran,

509 U.S. 389, 396 (1993) (internal quotations omitted); see also United States v. McKnight,



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570 F.3d 641, 648 (5th Cir. 2009). The same standard applies when a defendant seeks to

plead guilty or waive his right to counsel. Godinez, 509 U.S. at 396.

       Section 4241 provides that if a criminal defendant is suffering from a mental disease

or defect to the extent that he is unable to assist in his defense, “the court shall commit the

defendant to the custody of the Attorney General. 18 U.S.C. § 4241(d). The Attorney General

shall hospitalize the defendant in a suitable facility” for a reasonable time to determine

whether there is a substantial probability that the defendant will attain the capacity to permit

the proceedings to go forward, and “for an additional reasonable period of time” until his

mental condition is so improved that trial may proceed, or the pending charges against him

are disposed of according to law. Id.

       Section 4246 provides that when a person who has been committed to the custody of

the Attorney General pursuant to § 4241(d) and who is presently suffering from a mental

disease or defect as a result of which his release would create a substantial risk of bodily

injury to another or serious property damage to property of another, the Court shall order a

hearing for a risk assessment. 18 U.S.C. § 4246(a), (d). The Court shall order a psychiatric

or psychological examination before the hearing. 18 U.S.C. § 4246(c). After a hearing, if the

Court finds by clear and convincing evidence that the release of the person would create a

substantial risk of bodily injury to another person or serious damage to property of another,

the Court shall “commit the person to the custody of the Attorney General.” Id. at § (d).

       The Court again finds that Luna is not presently competent to assist in his defense and

is accordingly, not competent to stand trial. The Court finds that it may be possible for Luna

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to regain competence to stand trial, but that finding is guarded. The Court further finds that

if Luna has not regained competence in the near future that a risk assessment is necessary to

determine the further disposition of the charges against Luna and whether Luna should

continue to be committed to the custody of the Attorney General. The Court prefers to return

the Defendant to the health care of those most familiar with the history of Carlos Luna, but

the Court is very concerned with his recent deterioration.

                                      CONCLUSION

       The Court ORDERS that Carlos Luna be returned to the custody of the Attorney

General for restoration of competency pursuant to 18 U.S.C.§ 4741(d), for a risk assessment

pursuant to 18 U.S.C.§ 4747(b) and report pursuant to § 4747(c). The Court has previously

authorized the treatment of Carlos Luna with psychotropic medication in an effort to restore

his competency by Order of the Court dated July 18, 2013. D.E. 88. The Court’s

authorization for involuntary psychotropic medication of Carlos Luna remains in effect.




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       The Court further ORDERS that the Attorney General or his designee provide status

reports on Carlos Luna’s mental condition to the Court every thirty (30) days. The Court will

order a risk assessment hearing no later than 100 days from the date of this Order if Carlos

Luna has not been restored to competency before that date.

       The motions (D.E. 107, 108) are GRANTED in part and DENIED in part.

       It is so ORDERED this 10th day of February 2014.



                                          ____________________________
                                                HAYDEN HEAD
                                          SENIOR U.S. DISTRICT JUDGE




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